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                    IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                              WESTERN DIVISION

TERESA BLOODMAN, PARENT AND NATURAL GUARDIAN OF
JOHN DOE, A MINOR CHILD                         PLAINTIFF

V.                              CASE NUMBER: 4:11-CV-00818-JMM

DR. TOM KIMBRELL, ARKANSAS DEPARTMENT OF EDUCATION,
INDIVIDUALLY NAMED AND OFFICIAL CAPACITY;
DR. JERRY GUESS, SUPERINTENDENT, PULASKI COUNTY SPECIAL
SCHOOL DISTRICT, INDIVIDUALLY NAMED AND OFFICIAL CAPACITY;
DR. TAMEKA BROWN, PRINCIPAL, MAUMELLE HIGH SCHOOL
INDIVIDUALLY NAMED AND OFFICIAL CAPACITY;
MICHAEL SHOOK, COACH, MAUMELLE HIGH SCHOOL, INDIVIDUALLY
NAMED AND OFFICIAL CAPACITY;
GROVER GARRISON, COACH, MAUMELLE HIGH SCHOOL,
INDIVIDUALLY NAMED AND OFFICIAL CAPACITY;
SHERMAN COX, ATHLETIC DIRECTOR, MAUMELLE HIGH SCHOOL,
INDIVIDUALLY NAMED AND OFFICIAL CAPACITY         DEFENDANTS


     MOTION FOR EXTENSION OF TIME TO RESPOND TO MOTION FILED
                 PURSUANT TO FED. R. CIV. P. 12(b)(6)

        Comes now the Plaintiff and for her motion states:

        1.      That the named Defendants herein, electronically filed a motion for relief

pursuant to Fed. R. 12 (b) (6) alleging inter alia that t6he Plaintiff had failed to state a

claim for relief.

        2.      That the complaint of the Plaintiff herein is based upon certain rights

guaranteed under both the Arkansas and United States Constitution.

        3.      That prior to the Defendant’s filing of the Motion to Dismiss, Plaintiff

requested and only as of January 17, 2012 received only a portion of the documents

requested pursuant to the FOIA request forwarded to an office of the Pulaski County

Special School District. (See Exhibit 1-Response from Judy Robinson Wilbur).



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        4.     That the Freedom of Information Request was first forwarded to the agent

of the Defendants on or about November 7, 2011. (See Exhibit 2-FOIA request from

Plaintiff).

        5.     That the Plaintiff has made diligent efforts to obtain the information

without resort to involving this court directly in efforts to obtain the information but

without success. (See Exhibit 3-January 12, 2012 letter to agent of Defendant).

        6.     That the Plaintiff has previously represented to this court that certain

documents and information requested are believed to be germane and relevant to the

prosecution of the complaint filed herein and the filing of a response to the Motion to

Dismiss filed herein.

        4.     That the failure of a named Defendants and or their agents to provide the

information requested previously under the laws of the State of Arkansas and

specifically, the Freedom of Information Act for the State of Arkansas continues to

hamper and frustrate the efforts of the Plaintiff to provide a meaningful response to the

Motion to Dismiss filed by the Defendants.

        5.     That while there is still pending before the Pulaski County Prosecuting

Attorney, a request to enforce the Plaintiff’s right to information requested, the Plaintiff

must now seek other sources calculated to obtain the information, including but not

limited to subpoenas deuces tecum and or a civil complaint to enforce the production of

the documents.

        6.     That the agent of the Defendant school district has alleged that the

information sought is exempt, however, the Plaintiff is willing to enter into a protective




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order or other order calculated to meet any objections of exemption in order to obtain this

information and to allow this Court, if necessary to determine entitlement thereto.

        7.         That because the agent of the Defendants has failed and refused to provide

the information, the Plaintiff is in need of an additional twenty (20) days within which to

file a response. This time is necessary in order that the Plaintiff might be able to pursue

all avenues to address what Plaintiff believes are efforts to obstruct the acquisition of

information needed to provide a response to the Defendants’ Motion to Dismiss.

        7.         That the Plaintiff is not making this motion for the purpose of delay, but

verily believes that an additional twenty (20) days is necessary in order to enforce rights

under Arkansas Law and to obtain the relevant and probative information to which she is

entitled in order to respond to the Motion to Dismiss..

        8.         That this motion is in the best interest of justice and will not affect the

rights of the parties herein.

        WHEREFORE the undersigned prays that this grant an additional extension of

time within which to respond to the Motion to Dismiss filed herein and all other proper

and just relief.



                                                           Respectfully submitted,


                                                           /s/Teresa Bloodman
                                                           Teresa Bloodman #2005055
                                                           Attorney for Plaintiff
                                                           P.O. Box 13641
                                                           Maumelle, AR 72113
                                                           (501) 373-8223 Office
                                                           (501) 847-4040 Facsimile
                                                           teresabloodman@yahoo.com



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                            CERTIFICATE OF SERVICE

I, Teresa Bloodman, hereby certify that on this 19th day of January 2011, I electronically
filed the foregoing with the Clerk of Court using the CM/ECF System, which will send
notification of such filing to all CM/ECF participating counsel of record listed below; and
I further certify that I have mailed the document, via U.S. Mail, postage prepaid, to all
non CM/ECF participants listed below:

Mr. George J. Bequette, Esq.
425 West Capitol Avenue, Suite 3200
Little Rock, AR      72201
Telephone: (501) 374-1107
Fax: (501) 374-5092
jbequette@bbpalaw.com

                                                     /s/Teresa Bloodman




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